                       IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                3:17-CV-10-FDW-DSC


 UNITED STATES OF AMERICA and THE
 STATES OF CALIFORNIA, COLORADO,
 CONNECTICUT, DELAWARE, FLORIDA,
 GEORGIA, HAWAII, ILLINOIS, INDIANA,
 IOWA, LOUISIANA, MARYLAND,
 MASSACHUSETTS, MICHIGAN,                                         UNDER SEAL
 MINNESOTA, MONTANA, NEVADA,
 NEW HAMPSHIRE, NEW JERSEY, NEW
 MEXICO, NEW YORK, NORTH
 CAROLINA, OKLAHOMA, RHODE
 ISLAND, TENNESSEE, TEXAS,
 VERMONT, VIRGINIA, and
 WASHINGTON, THE DISTRICT OF
 COLUMBIA, THE COUNTY OF
 ALLEGHENY, and THE CITIES OF
 CHICAGO, NEW YORK, and
 PHILADELPHIA, ex rel. JOHN DOE,

                 Plaintiffs,

                 v.

 ATRICURE, INC., ST. HELENA
 HOSPITAL, AND ADVENTIST HEALTH,

                 Defendants.


                 NOTICE OF ELECTION TO DECLINE INTERVENTION
                      AND MOTION TO UNSEAL COMPLAINT

       Pursuant to the False Claims Act, 31 U.S.C. § 3730(b)(4)(B), the United States notifies the

Court of its decision not to intervene in this action.

       Although the United States declines to intervene, it respectfully refers the Court to 31

U.S.C. § 3730(b)(1), which allows a relator to maintain an action in the name of the United States;

providing, however, that the “action may be dismissed only if the court and the Attorney General
give written consent to the dismissal and their reasons for consenting.” Id. Therefore, the United

States requests that, should either the relator or the defendants propose that this action be

dismissed, settled, or otherwise discontinued, the Court solicit the written consent of the United

States before ruling or granting its approval.

        Furthermore, pursuant to 31 U.S.C. § 3730(c)(3), the United States requests that all

pleadings filed in this action be served upon the United States; the United States also requests that

orders issued by the Court be sent to the Government’s counsel. The United States reserves its

right to order any deposition transcripts, to intervene in this action, for good cause, at a later date,

and to seek the dismissal of this relators’ action or claim. The United States also requests that it

be served with all notices of appeal.

        The Government requests that this relator’s Complaint, the Amended Complaint, the

Second Amended Complaint, this Notice, and the attached proposed Order be unsealed. The

United States requests that all other papers currently on file in this action remain under seal because

in discussing the content and extent of the United States’ investigation, such papers are provided

by law to the Court alone for the sole purpose of evaluating whether the seal and time for making

an election to intervene should be extended.

        Finally, the Government gives notice that the following States have elected to join this

declination: California, Colorado, Connecticut, Delaware, Florida, Georgia, Hawaii, Illinois,

Indiana, Iowa, Louisiana, Maryland, Massachusetts, Michigan, Minnesota, Montana, North

Carolina, New Hampshire, New Jersey, New Mexico, Nevada, New York, Oklahoma, Rhode

Island, Tennessee, Texas, Virginia, Vermont, Washington, and the District of Columbia.

        Of these, Maryland has directed that, because of particularities of that State’s false claims

law, the Government convey that the Maryland False Health Claims Act provides that “If the State


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does not elect to intervene and proceed with the action . . . before unsealing the complaint, the

court shall dismiss the action.” Md. Code Ann., Health Gen, § 2-604 (a)(7). Accordingly, the

State of Maryland requests that all claims asserted on behalf of the State of Maryland be dismissed

without prejudice.

       A proposed order accompanies this notice.

       Respectfully submitted this the 15th day of March, 2021.



                                                     WILLIAM T. STETZER
                                                     ACTING UNITED STATES ATTORNEY

                                                     s// Katherine T. Armstrong
                                                     KATHERINE T. ARMSTRONG
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                                 CERTIFICATE OF SERVICE

I hereby certify that on the 15th day of March, 2021, the foregoing Government’s Notice of

Election to Decline Intervention and Motion to Unseal Complaint was served upon the parties

indicated below by depositing a copy, correctly addressed and postage prepaid, with the United

States Postal Service:

       F. Elizabeth Lepic, JD
       Medicaid Fraud Control Bureau
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Lora Fox Martin
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NAMFCU Contacts for Plaintiff States
                                    s/ Katherine T. Armstrong
                                    KATHERINE T. ARMSTRONG
                                    ASSISTANT UNITED STATES ATTORNEY




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